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                                           UNITED STATES BANKRUPTCY COURT
                                          FOR THE MIDDLE DISTRICT OF GEORGIA


    DEBTOR                                              *        Chapter 13
     LaTonja Balkcom Brown                              *        Case No.           _________________________
                                                                     &KHFN if this is a modified plan, and list below the sections
                                                                     of the plan that have been changed.
      Original Plan




                                                   CHAPTER 13 PLAN
                                              MIDDLE DISTRICT OF GEORGIA
                                                (NOT OFFICIAL FORM 113)

    Part 1: Notices


    To Debtors:              This form sets out options that may be appropriate in some cases, but the presence of an
                             option on the form does not indicate that the option is appropriate in your circumstances.
                             Plans that do not comply with local rules and judicial rulings may not be confirmable.

                             In the following notice to creditors and statement regarding your income status, you must check
                             each box that applies.

    To Creditors:            Your rights may be affected by this plan. Your claim may be reduced, modified, or
                             eliminated.

                             You should read this plan carefully and discuss it with your attorney if you have one in this
                             bankruptcy case. If you do not have an attorney, you may wish to consult one.

                             If you oppose the plan’s treatment of your claim or any provision of this plan, you or your
                             attorney must file an objection to confirmation at least 7 days before the date set for the hearing on
                             confirmation unless otherwise ordered by the Bankruptcy Court. The Bankruptcy Court may
                             confirm this plan without further notice if no objection to confirmation is filed. See Bankruptcy
                             Rule 3015. In addition, you may need to file a timely proof of claim in order to be paid under any
                             plan.


            The following matters may be of particular importance to you. Debtors must check one box on each line to
            state whether or not the plan includes each of the following items. If an item is checked as “Not Included” or if
            both boxes are checked, the provision will be ineffective if set out later in the plan $Q\ QRQVWDQGDUG SURYLVLRQV
            SODFHG LQ DQ\ SDUW RWKHU WKDQ 3DUW  DUH YRLG.

                        /LPLW WKH $PRXQW RI D 6HFXUHG &ODLP The plan
                        seeks to limit the amount of a secured claim, as set
               1.1      out in Part 3, Section 3.5, which may result in a           ✔
                                                                                        Included             Not Included
                        partial payment or no payment at all to the secured
                        creditor.
                        $YRLGDQFH RI /LHQV The plan requests the
               1.2      avoidance of a judicial lien or nonpossessory,              ✔
                                                                                        Included             Not Included
                        nonpurchase-money security interest as set out in
                        the Nonstandard Provisions Part 6.
               1.3      1RQVWDQGDUG 3URYLVLRQV 7he plan sets out                   ✔
                                                                                        Included             Not Included
                        Nonstandard ProvisionV in Part 6.




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              Income status of debtor(s) as stated on Official form 122-C1

                      Check One:

                             The current monthly income of the debtor(s) is less than the applicable median income
                       ✔     specified in 11 U.S.C. §1325(b)(4)(A).

                             The current monthly income of the debtor(s) is not less than the applicable median income
                             specified in 11 U.S.C. §1325(b)(4)(A).


    Part 2: Plan Payments and Length of Plan


    2.1. 3ODQ 3D\PHQWV The future earnings of the debtor(s) are submitted to the supervision and control of the Trustee
         and the debtor(s) (or the debtor's(s’) employer) shall pay to the Trustee the sum of $ 255.00 bi-weekly    . (If
         the payments change over time include the following.) These plan payments FKDQJH WR
                                          on                   .



    2.2. $GGLWLRQDO 3D\PHQWV Additional Sayments of                            ZLOO EH PDGH RQ                    IURP
                                                6RXUFH



     2.. 3ODQ /HQJWK If the debtor
V(s
) current monthly income is less than the applicable median income
     specified in 11 U.S.C.§1325(b)(4)(A) the debtor(s) will make a minimum of 36 monthly payments.

           If the debtor
V(s
) current monthly income is not less than the applicable median income specified in
           11 U.S.C.§1325(b)(4)(A) the debtor(s) will make payments for a minimum of 57 months.


    Part 3: Treatment of Secured Claims


             From the payments so received, the Trustee shall make disbursements to allowed claims as follows:

    3.1.       /RQJ 7HUP 'HEWV The monthly payments will be made on the following long-term debts LQFOXGLQJ GHEWV VHFXUHG
               E\ WKH GHEWRU
VV
 SULQFLSDO UHVLGHQFH: (Payments which become due after the filing of the petition but before the
               month of the first payment designated here will be added to the pre-petition arrearage claim.)


                                                              MONTH OF FIRST 3$<0(17                 MONTHLY         &+(&. ,) 35,1&,3$/
NAME OF CREDITOR                                                        UNDER PLAN              3$<0(17 AMOUNT            5(6,'(1&(




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       3.2.           $UUHDUDJHV After confirmation, distributions will be made to cure arrearages on long term debts LQFOXGLQJ
                      GHEWV VHFXUHG E\ WKH GHEWRU
VV
 SULQFLSDO UHVLGHQFH where the last payment is due after the last payment
                      under the plan. If no monthly payment is designated, the arrearage claims will be paid after the short term
                      secured debts listed in Section 3.3 and 3.5

                                                 ESTIMATED INTEREST                                                              MONTHLY
                                                 AMOUNT        RATE                                                              PAYMENT
NAME OF &5(',725                                 DUE      (if applicable) COLLATERAL                                             IF ANY




       3.3           &ODLPV 1RW 6XEMHFW WR &UDP 'RZQ The following claims are not subject to cram down because debts are
                      secured by a purchase money security interest in a vehicle for which the debt was incurred within 910 days of
                      filing the bankruptcy petition, or, if the collateral for the debt is any other thing of value, the debt was incurred
                      within 1 year of filing. See  D 7KH FODLPV OLVWHG EHORZ ZLOO EH SDLG LQ IXOO DV DOORZHG

                                                  $02817            ,17(5(67                                                     MONTHLY
NAME OF &5(',725                                  '8(                RATE   COLLATERAL                                           PAYMENT




       3.4.           3UHFRQILUPDWLRQ $GHTXDWH 3URWHFWLRQ Preconfirmation adequate protection payments will be made to the
                      following secured creditors and holders of executory contracts after the filing of a proof of claim by the
                      creditor. These payments will be applied to reduce the principal of the claim.
                                                                                                        ADEQUATE PROTECTION
NAME OF CREDITOR                                                                                                AMOUNT
Chrysler Capital                                                                                              $ 60.00
Complete Cash                                                                                                 $ 20.00



       3.5           6HFXUHG &UHGLWRUV 6XEMHFW WR &UDPGRZQ After confirmation of the plan, the following secured creditors
                      who are subject to cramdown, with allowed claims will be paid as follows:

                      If the value is less than the amount due, the secured claim is modified to pay the value only as secured.
                      If the value is listed as $0.00 the creditor’s allowed claim will be treated as unsecured.
                      If the value is greater than or equal to the allowed secured claim, the claim will be paid in full.
                      ,I \RX GR QRW LQWHQG WR FUDP GRZQ WKH FODLP HQWHU GHEW DV WKH YDOXH


                                                                          INTEREST                                          MONTHLY
 NAME OF &5(',725                     AMOUNT '8( VALUE                      RATE        COLLATERAL                      PAYMENT AMOUNT
 Chrysler Capital                     $ 17,000.00 6000.00                   6.50   2011 BMW 328i                          $ 200.00
 Complete Cash                         $ 2,200.00         2500.00           6.50        2001 Ford Expedition              $ 100.00




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     3.6.
                                                 Document
               6XUUHQGHUHG &ROODWHUDO The following                 Page 4 ofto7the creditor. If the debtor(s) is surrendering the
                                                     collateral is surrendered
               collateral for a specific payment credit or in full satisfaction of the debt, a statement explaining the treatment should be
               indicated in Part 6 Nonstandard Provisions. 8SRQ FRQILUPDWLRQ RI WKLV SODQ WKH VWD\ XQGHU  D ZLOO WHUPLQDWH DV
               WR WKH FROODWHUDO RQO\ DQG WKH VWD\ XQGHU   ZLOO WHUPLQDWH LQ DOO UHVSHFWV XQOHVV WKH GHEW LV OLVWHG DV D FODVVLILHG GHEW
               LQ 3DUDJUDSK  RI WKH SODQ $Q DOORZHG XQVHFXUHG FODLP UHVXOWLQJ IURP WKH GLVSRVLWLRQV RI WKH FROODWHUDO ZLOO EH
               WUHDWHG DV XQVHFXUHG


     NAME OF CREDITOR                                                           DESCRIPTION OF COLLATERAL




     3.7              'HEWV 3DLG E\ 'HEWRU The following debts will be paid directly by the debtor(s):

     NAME OF CREDITOR                                                            COLLATERAL




     3.8              /LHQV $YRLGHG The judicial liens or non-possessory, non-purchase security interests that are being avoided
                       are listed in Part 6 Nonstandard Provisions.


     Part 4: Treatment of Fees and Priority &ODLPV


     4.1. $WWRUQH\ )HHV Attorney fees ordered pursuant to 11 U.S.C. § 507(a)(2) of $ 3,250.00                     to be paid as follows:
          (SELECT ONE)

                      ✔ 3XUsXDQW WR WKH 6LQJOH 6HW )HH RSWLRQ LQ WKH $GPLQLVWUDWLYH 2UGHU RQ $WWRUQH\ )HHV LQ &KDSWHU  &DVHV
                           +RXUO\ ELOOLQJ $WWRUQH\V DUH UHTXLUHG WR ILOH DQ DSSOLFDWLRQ IRU FRPSHQVDWLRQ ZLWK WKH &RXUW LQFOXGLQJ DQ
                           LWHPL]DWLRQ RI WKHLU WLPH LQ DFFRUGDQFH ZLWK WKH $GPLQLVWUDWLYH 2UGHU RQ $WWRUQH\ )HHV LQ &KDSWHU 
                           &DVHV



    7UXVWHH
V )HHV 7UXVWHH
V IHHV DUH JRYHUQHG E\ VWDWXWH DQG PD\ FKDQJH GXULQJ WKH FRXUVH RI WKH FDVH



     4.. 'RPHVWLF 6XSSRUW 2EOLJDWLRQV The following domestic support obligations will be paid over the life of the plan as
          follows: These payments will be made simultaneously with payment of the secured debt to the extent funds are available
          and will include interest at the rate of      . (If this is left blank, no interest will be paid.)

    NAME OF CREDITOR                                                                                                   PAYMENT AMOUNT




     3ULRULW\ &ODLPV $OO RWKHU  86&   SULRULW\ FODLPV XQOHVV DOUHDG\ OLVWHG XQGHU  ZLOO EH SDLG LQ IXOO RYHU WKH OLIH RI WKH SODQ
    DV IXQGV EHFRPH DYDLODEOH LQ WKH RUGHU VSHFLILHG E\ ODZ


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    Part 5: Treatment of Non Priority Unsecured Claims



    5.1.            3D\PHQW 3DUDPHWHUV Debtor(s) will make payments that will meet all of the following parameters
                    (these are not cumulative debtor(s) will pay the highest of the three)

                    (a) Debtor(s) will pay all of the disposable income as shown on Form 22C of $ 0.00             to the non-
                    priority unsecured creditors in order to be eligible for a discharge, unless debtor(s) includeV contrary
                    provisions in Part 6 Nonstandard Provisions along with sufficient legal reason justifying the excusal from
                    meeting this requirement.

                    (b) If the debtor(s) filed a Chapter 7 case, the priority and other unsecured creditors would receive
                     $ 0.00          . Debtor(s) will pay this amount to the priority and other unsecured creditors in
                    order to be eligible for discharge in this case.

                    (c) The debtor(s) will pay $ 0.00        to the general unsecured creditors to be distributed prorata.

    5.2.            *HQHUDO 8QVHFXUHG &UHGLWRUV General unsecured creditors whose claims are duly proven and
                    allowed will be paid (CHOOSE ONLY ONE)

                    (a) 0.00         dividend as long as this dividend exceeds the highest amount, if any, shown in paragraph
                    5.1(a), 5.1(b), or 5.1(c) and the debtor(s) makes payment for the applicable commitment period as indicated
                    in Part 2 Section 2.4.

                    (b) 7he debtor(s) anticipates unsecured creditors will receive a dividend of                 but will also pay the
                    highest amount shown in paragraph, 5.1(a), 5.1(b) or 5.1(c) above. All creditors should file claims in the event
                    priority and secured creditors do not file claims and funds become available for distribution.

                    &ODVVLILHG 8QVHFXUHG &ODLPV The following unsecured claims are classified to be SDLG DW   ,I WKH GHEWRUV
    5.3.            LV SURSRVLQJ WR SD\ OHVV WKDQ   RU WR SD\ D UHJXODU PRQWKO\ SD\PHQW WKRVH SURSRVDOV VKRXOG DSSHDU LQ 3DUW 
                    1RQVWDQGDUG 3URYLVLRQV

                                                                                     (67,0$7(' $02817              ,17(5(67 5$7(
   NAME OF CREDITOR               5($621 )25 &/$66,),&$7,21                               2) &/$,0                 ,) $33/,&$%/(
                                                                                                                                 

                                                                                                                                 

                                                                                                                                 
                                                                                                                                 

    5.4.            ([HFXWRU\ &RQWUDFWV DQG 8QH[SLUHG /HDVHV The executory contracts and unexpired leases listed below
                    are assumed. All other executory and unexpired leases are rejected. If the debtor(s) wishes to cure a
                    default on a lease, an explanation of those payments should be included in Part 6 Nonstandard
                    Provisions.

NAME OF CREDITOR                                                            DESCRIPTION OF COLLATERAL




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    5.5.               3URSHUW\ RI WKH (VWDWH Unless otherwise ordered by the Court, all property of the estate, whether in the
                       possession of the Trustee or the debtor(s), remains property of the estate subject to the Court’s jurisdiction,
                       notwithstanding §1327(b), except as otherwise provided in Part 6 Nonstandard Provisions below. Property
                       of the estate not paid to the Trustee shall remain in the possession of the debtor(s). All property in the
                       possession and control of the debtor(s) at the time of confirmation shall be insured by the debtor(s). The
                       Chapter 13 Trustee will not and is not required to insure such property and has no liability for injury to any
                       person, damage or loss to any such property in possession and control of the debtor(s) or other property
                       affected by property in possession and control of the debtor(s).

    5.6.               9DOLGLW\ RI /LHQV RU 3UHIHUHQFH $FWLRQV Notwithstanding the proposed treatment or classification of any
                       claim in the plan confirmed in this case, all lien avoidance actions or litigation involving the validity of liens
                       or preference actions will be reserved and can be pursued after confirmation of the plan. Successful lien
                       avoidance or preference action will be grounds for modification of the plan.


    Part 6: Nonstandard Provisions

              1RQVWDQGDUG 3URYLVLRQV Under Bankruptcy 5ule 3015(c), all nonstandard provisions are required to be set forth
              below. These plan provisions will be effective only if the applicable box in Part 1 of this plan is checked DQG DQ\
              QRQVWDQGDUG SURYLVLRQV SODFHG HOVHZKHUH LQ WKH SODQ DUH YRLG.
           The liens of Chrysler Capital and Complete Cash in the debtors 2011 BMW 3281 and 2001 Ford Expedition are
           hereby voided upon the debtors receiving a discharge of the Chapter 13 plan herein with said creditor being
           required, within 30 days after the date the debtors receive a discharge, to cancel all liens of record, whether on
           titles, UCC Financing Statements or otherwise voiding the same to the debtors.

           All lien avoidance motions or litigation involving the validity of liens, or preference actions will be reserved and
           can be pursued after confirmation. Successful lien avoidance or preference actions will be grounds for
           modification of the plan.

    Part 7: Signatures



    7.1.               &HUWLILFDWLRQ The debtor
V(s
) attorney (or debtor(s), if not represented by an attorney) certifies that all
                       provisions of this plan are identical to the Official form of the Middle District of Georgia except for language
                       contained in Part 6: Nonstandard Provisions.


    Debtors


     /s/ LaTonja Balkcom Brown                                     03/15/2019
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                        @@@@@@@@@@@@@@@@@@@@
    Signature of debtor                                            Date


    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                        @@@@@@@@@@@@@@@@@@@@
    Signature of debtor                                            Date



    Debtor
V(s
) Attorney

     /s/ Daniel L. Wilder                                         03/15/2019
    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                        @@@@@@@@@@@@@@@@@@@@
    Signature of debtor
V(s
) attorney                             Date




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                              CERTIFICATE OF SERVICE OF CHAPTER 13 PLAN

        I, Daniel L. Wilder, hereby certify that I have served a copy of the Chapter 13 Plan by First Class Mail
placing the same in the United States Mail with proper postage affixed thereon to the following addresses:

*All creditors to be served by the BNC Noticing Center.


       I hereby certify that I have served a copy of the Chapter 13 Plan on the following corporations addressed to
an Agent or Officer by First Class Mail with proper postage affixed thereon to the following addresses:

Chrysler Capital
Attn: Bankruptcy Department
P. O. Box 961278
Fort Worth, TX 76161

         I hereby certify that the following insured depository institutions were served by Certified Mail addressed
to the officer of the institution:




        I hereby certify that the following parties and counsel were served electronically through the Notice of
Electronic Filing (NEF) at the following address:




        This 15th day of March, 2019.


                                                                  /s/ Daniel L. Wilder
                                                                  DANIEL L. WILDER, Bar No. 141448
                                                                  Attorney for Debtor(s)
EMMETT L. GOODMAN, JR., LLC
544 Mulberry Street, Ste. 800
Macon, GA 31201
Telephone: (478) 745-5415
Email: bkydept@goodmanlaw.org




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